     Case 2:21-cv-01530-AMM Document 264 Filed 08/14/23 Page 1 of 3            FILED
                                                                      2023 Aug-14 PM 05:16
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA
                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BOBBY SINGLETON, et al.,            )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                        Case No.: 2:21-cv-1291-AMM
                                    )
WES ALLEN, in his official          )
                                          THREE-JUDGE COURT
capacity as Alabama Secretary of    )
State, et al.,                      )
                                    )
     Defendants.                    )


EVAN MILLIGAN, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                        Case No.: 2:21-cv-1530-AMM
                                    )
WES ALLEN, in his official          )
                                          THREE-JUDGE COURT
capacity as Alabama Secretary of    )
State, et al.,                      )
                                    )
     Defendants.                    )


MARCUS CASTER, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )   Case No.: 2:21-cv-1536-AMM
                                    )
WES ALLEN, in his official          )
capacity as Secretary of State of   )
Alabama, et al.,                    )
                                    )
     Defendants.                    )
       Case 2:21-cv-01530-AMM Document 264 Filed 08/14/23 Page 2 of 3




Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

                                     ORDER

      On August 8, 2023, the Court entered an order noting the prior appointment

of Mr. Richard Allen as Special Master and appointing Mr. David Ely as expert

cartographer to assist the Special Master.     See generally Singleton Doc. 166;

Milligan Doc. 226; Caster Doc. 196. The Court next advised that that we had

identified Michael Scodro and the firm Mayer Brown LLP as qualified to assist Mr.

Allen in the performance of his duties and responsibilities should it be necessary.

Id. at 5. The Court then invited the parties to submit any comments or objections to

the appointment of Mr. Scodro and his firm as members of the Special Master’s

team. Id. Finally, in accordance with Federal Rule of Civil Procedure 53(b)(3), the

Court instructed Mr. Allen, Mr. Ely, and Mr. Scodro to file affidavits disclosing

whether any ground for disqualification under 28 U.S.C. § 455 exists for them or

any of their assistants. Id.

      Mr. Allen, Mr. Ely, and Mr. Scodro timely filed their affidavits. Singleton

Docs. 172–74; Milligan Docs. 239–41; Caster 204–06. None provided any grounds

for disqualification. Further, no party filed any objection to the appointment of Mr.

Scodro or his firm to aid the Special Master as needed. Accordingly, pursuant to the

Court’s inherent authority and Federal Rule of Civil Procedure 53, Mr. Michael


                                         2
       Case 2:21-cv-01530-AMM Document 264 Filed 08/14/23 Page 3 of 3



Scodro and the Mayer Brown LLP law firm are APPOINTED to assist Mr. Allen

in the performance of his duties as Special Master. All reasonable costs and

expenses of Mr. Allen and his team, including reasonable compensation for Mr. Ely,

Mr. Scodro, and any assistants they may retain, shall (subject to the approval of this

Court) be paid by the State of Alabama.

      DONE and ORDERED this 14th day of August, 2023.




                                     STANLEY MARCUS
                                     UNITED STATES CIRCUIT JUDGE



                                    _________________________________
                                    ANNA M. MANASCO
                                    UNITED STATES DISTRICT JUDGE




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